Case 1:25-cv-00339-JDB   Document 80-19   Filed 04/18/25   Page 1 of 4




                EXHIBIT 17
       Case 1:25-cv-00339-JDB         Document 80-19         Filed 04/18/25      Page 2 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

AFL-CIO, et al.,

Plaintiffs,

v.                                              Case No. 1:25-cv-00339

DEPARTMENT OF LABOR, et al.,


Defendants.




                              DECLARATION OF TAMMY FRY

        I, Tammy Fry, declare as follows:

     1. My name is Tammy Fry. I live in Portland, Oregon. I am a member of the American

        Federation of Teachers (AFT). I submit this declaration in support of Plaintiffs’ motion

        for a preliminary injunction. The statements made in this declaration are based on my

        personal knowledge, materials I have reviewed, and information made available to me

        pursuant to my experience as a member of AFT.

     2. I work as a Library Media Assistant at Sato Elementary in the Beaverton School District.

        As part of my job, I teach numerous library classes, circulate hundreds of our library

        books to students daily, work with district librarians to curate our book collection, and

        sort, shelve, organize, and repair the books in our collection. I do my work to ensure that

        students have the skills and resources to develop a lifelong love of reading.

     3. I am a member of my union, the Oregon School Employees Association (OSEA), AFT

        Local 6732. OSEA is a member-driven union of more than 24,000 education
  Case 1:25-cv-00339-JDB         Document 80-19         Filed 04/18/25     Page 3 of 4




   professionals across Oregon, with members who work in public schools, Head Start

   programs, education service districts, community colleges, parks, and libraries.

4. I filed a claim for unemployment insurance benefits in May, 2024.

5. When filing for my unemployment insurance benefits, I provided sensitive personal

   information to the Oregon Employment Department (OED), including my birth date,

   Social Security number, employment history, wage information, phone number, address,

   and bank account information.

6. It is my understanding that due to a Department of Labor (DOL) audit of unemployment

   insurance claims, some or all of the private personal information I submitted to OED is

   stored in a database maintained by the DOL.

7. I understand that people associated with the Department of Government Efficiency

   (DOGE) have accessed sensitive at federal agencies including the DOL.

8. When applying for unemployment benefits, I believed that my personal information

   would be stored securely and only used for legitimate purposes. I did not and would not

   authorize DOGE to access my personal information, and I find it extremely offensive for

   DOGE to access my private information.

9. Based on reports I have seen in the media, I am particularly concerned that if DOGE is

   permitted to have unauthorized access to this sensitive personal data, they will

   manipulate or misrepresent the data to make false or misleading claims to further their

   political agenda.

10. I am also very worried that the security of my data will be compromised. My

   understanding is that DOGE has not had proper training on the data systems they are

   accessing and attempting to access. I fear that if any of my personal information
  Case 1:25-cv-00339-JDB          Document 80-19        Filed 04/18/25      Page 4 of 4




   contained in these systems falls into the hands of third parties, I may be at heightened risk

   of being targeted for identity theft or scams.

11. These anxieties will continue unless DOGE is prevented from improperly accessing

   sensitive data.



I declare under penalty of perjury as prescribed in 28 U.S.C. § 1746 that the foregoing is true

and correct.

Executed on April 17, 2025, in Portland, Oregon




                                                         Tammy Fry
